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                       UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA            )
                                    )
           v.                       )      Crim. No.      09-10150-MLW
                                    )
JULIAN MILLER a/k/a                 )
JUICE MILLER                        )

                 GOVERNMENT’S OPPOSITION TO DEFENDANT
                 JULIAN MILLER’S SENTENCING MEMORANDUM

      The United States of America, by and through Assistant U.S.

Attorney Maxim Grinberg, files this opposition to the defendant’s,

Julian Miller’s, sentencing memorandum (“Def’s Sent. Mem.”) in

connection with the defendant’s nine-count conviction for bank

robberies under 18 U.S.C. § 2113(a). The defendant recommends that

this Honorable Court impose a 48-month sentence consecutive to the

state sentence he is currently serving for the robberies he

committed in the state of New York. The government recommends that

this Honorable Court sentence the defendant to a 131-month term of

imprisonment     to   run   concurrently    with    the    defendant’s   state

sentence, followed by a 3-year term of supervised release, and

order restitution in the amount of $22,757.72.

      The government arrives at the 131-month term of imprisonment

by calculating the defendant’s Guideline sentencing range, which is

151-188 months; then using 169 months as a baseline reference point

to   reflect    the   defendant’s   conduct   and    history;    and   finally

subtracting 38 months to account for the time the defendant already

spent in state custody for robberies in New York.
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     I.      THE DEFENDANT’S GUIDELINE SENTENCING RANGE IS 151-
             188 MONTHS.

             A.    THE UNDISPUTED GUIDELINE CALCULATION
                   PRODUCES A SENTENCING RANGE OF 151-188
                   MONTHS.

     The defendant does not dispute that he is a career offender

under the Guidelines, because the convictions at issue are for bank

robbery, which is a crime of violence, and because he has prior

convictions for possession with intent to distribute, Presentence

Report (“PSR”) ¶ 115; distribution, PSR ¶ 117; and robbery, PSR ¶

119; all within the prescribed time periods of the career offender

section,     U.S.S.G.   §   4B1.2(c).       Because   the   maximum   term   of

imprisonment under 18 U.S.C. § 2113(a) is 20 years, the defendant’s

offense level, after subtracting 3 levels for his acceptance of

responsibility, is 29, PSR ¶ 107, and his criminal history category

is VI, PSR ¶ 123, resulting in the sentencing guideline range of

151-188 months.      See U.S.S.G. § 4B1.1.1

             B.    THE COURT SHOULD GIVE DUE CONSIDERATION
                   TO THE DETERMINATION THAT THE DEFENDANT
                   IS A CAREER OFFENDER UNDER THE SENTENCING
                   GUIDELINES.

     Notwithstanding the parties’ agreement to the calculation of

the applicable sentencing guideline range, the defendant contends



     1
      The defendant concedes that the Court cannot credit the
defendant his undischarged sentence in New York under U.S.S.G.
§ 5G1.3(b) because the defendant’s offense of conviction in New
York does not constitute relevant conduct for the offense of
conviction here. Def. Sent. Mem. 15; PSR p. 42-43.

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that the Court should disregard the career offender provision of

the Sentencing Guidelines because “an exceedingly high guideline

range to be applied to a defendant like Miller does not incorporate

the purpose and factors set forth in [18 U.S.C.] § 3553(a) that

ensure a fair, efficient, and effective sentences.”                     Def. Sent.

Mem. 12.

     In     criticizing    the      Sentencing       Commission’s     approach     to

calculating sentences for career offenders, in that the Sentencing

Commission supposedly “deviate[d] from its traditional [reliance]

on empirical study of sentencing practices and consequences,” Def.

Sent. Mem. 12, the defendant overlooks the plain Congressional

mandate    set   forth    in   28    U.S.C.    §   944(h)    to    sentence   career

offenders at or near the statutory maximums and the Supreme Court

precedent recognizing and upholding that mandate.                      See     United

States    v.   LaBonte,    520      U.S.   751,    758    (1997)   (“Congress     has

expressly      provided    enhanced        maximum       penalties    for     certain

categories of repeat offenders in an effort to treat them more

harshly than other offenders”); Kimbrough v. United States, 552

U.S. 85, 128 S. Ct. 558, 571 (2007) (through enaction of 28 U.S.C.

§ 994(h), Congress required ”the Sentencing Commission to set

Guidelines sentences for serious recidivism offenders ‘at or near’

the statutory maximum”).         When the Sentencing Commission attempted

to provide a more lenient definition for the phrase “a term of

imprisonment at or near the maximum term authorized,” the Supreme


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Court     struck     it    down     as   inconsistent       with    the     explicit

Congressional mandate that career offenders be sentenced at or near

the “‘highest’ term prescribed for a specific offense.”                     LaBonte,

520 U.S. at 758.

        Thus, whether or not the Sentencing Commission looked at

empirical     data    in    establishing         sentence   ranges    for    career

offenders, the career offender guideline derives from the clear

Congressional mandate set forth in 28 U.S.C. § 994(h).                      In this

case, the defendant’s statutory maximum term of imprisonment is 20

years on each of the nine counts.                See 18 U.S.C. § 2113(a).        The

Guideline calculation yields a sentencing range of 151-188 months

(12.6-15.7    years)       on    all   counts;    the   government’s      Guideline

sentencing    baseline          determination,     as   explained    in   the   next

section, results in 169 months (14.1 years); and the government’s

final recommendation after subtracting              38 months for the time the

defendant served on his New York sentence is 131 months (10.9

years), almost half the statutory maximum penalty; while the

defendant’s recommended sentence of 48 months (4 years), which the

defendant characterizes as “a modest variance,” Def. Sent. Mem. 9,

has no connection whatsoever with the Congressional mandate in 28

U.S.C. § 994(h) or the defendant’s offense conduct and history.

        The defendant’s reliance on the language in Kimbrough v.

United States, 128 S. Ct. at 575, that the district court is free

to disregard policy considerations of the Sentencing Commission


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that      “do     not   exemplify      the        Commission’s     exercise    of     its

characteristic institutional role” does not apply to this case.

The holding in Kimbrough pertains to the Sentencing Commission’s

adoption of the 100-to-1 crack cocaine-to-powder cocaine quantity

ratio, which the Supreme Court found was not expressly provided for

in 21 U.S.C. § 841, the statute that prescribes sentences for

controlled substance offenses.                 The Supreme Court, on the other

hand, took pains to distinguish the “silence” in 21 U.S.C. § 841 on

the    crack      cocaine-to-powder          cocaine    quantity    ratio     from    the

unambiguous        language    in     28     U.S.C.    §   944(h)    requiring       “the

Sentencing Commission to set Guidelines sentences for serious

recidivism        offenders    ‘at      or     near’    the   statutory       maximum.”

Kimbrough, 128 S. Ct. at 571.               In citing Kimbrough,       the defendant

fails to recognizes this key distinction.

         Finally, the defendant cites a 7-year old survey of district

court judges for the proposition that the majority of the judges

thought “the guidelines infrequently met the goal of maintaining

sufficient flexibility to permit individualized sentences, or of

providing needed training, care or treatment in the most effective

manner.” Def. Sent. Mem. 14, citing UNITED STATES SENTENCING COMMISSION,

SURVEY   OF   ARTICLE III JUDGES   ON THE   FEDERAL SENTENCING GUIDELINES, FINAL REPORT

(2003) (“Survey”), at http://www.ussc.gov/judsurv/judsurv.htm (and

attached thereto).          This argument is unavailing for two reasons.

         First, this Court can and should make an individualized


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determination whether and how the career offender provision of the

Guidelines applies to this particular case, without relying on the

Survey.       See   18 U.S.C. § 3553(a)(4) (directing sentencing judges

to consider the Guidelines); United States v. Thurston, 544 F.3d

22, 24 n.5, 25 (1st Cir. 2008) (improper calculation of a sentence

under the Guidelines is a reversible error).

        Second, a closer examination of the Survey does not support

the defendant’s conclusion about the judges’ broad experience

sentencing under the Guidelines.               While the Survey indicates that

41.2%    to    45.1%   of   the   judges       thought   that   “fewer”   of   their

sentences under the Guidelines provided “effective rehabilitation”

and “flexibility to individualizes sentences,” the other 52.1% to

61.7% thought otherwise.            SURVEY at Chapter II, Exhibit II-12.

Moreover, the judges in the 41.2% to 45.1% category felt the

inadequacy of the Guideline sentences applied mostly to unlawful

entry, alien smuggling, and drug offenses. Id. at Exhibits II-(13-

14).     On the other hand, only about 12% of the surveyed judges

thought their sentences under the Guidelines for the offense of

robbery were consistently greater than otherwise would have been

appropriate.        Id. at Exhibit II-4.

        Notwithstanding the defendant’s mistaken reliance on the

Survey or argument that the           career offender guideline should be

dispensed with, this Court, after the Supreme Court’s decisions in

Gall v. United States, 128 S. Ct. 586 (2007), and Kimbrough, 128 S.


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Ct. 558, possesses wide discretion in determining whether a career

offender       designation   overstates   or     understates     a    defendant’s

criminal history and likelihood of recidivism.              United States v.

Martin, 520 F.3d 87, 95-96 (1st Cir. 2008) (sentencing court

varying from a career offender guideline based on considerations of

the     defendant’s    potential    for    rehabilitation         and    relative

culpability).       See also United States v. Stone, 575 F.3d 83, 89

(1st Cir. 2009) (the sentencing court possesses discretion to vary

from sentencing guidelines based not only on policy disagreements

with    the    Sentencing    Commission   but     also   where    “a    guideline

provision is a direct reflection of a congressional directive”).

Thus,    the    government   addresses    next    whether   the      government’s

baseline recommendation of a 169-month sentence is appropriate in

light of the defendant’s offense conduct, criminal history, and

recidivism despite access to substance abuse treatment.

       II.     THE GOVERNMENT’S BASELINE RECOMMENDATION OF A 169-
               MONTH SENTENCE UNDER THE GUIDELINES PROPERLY
               REFLECTS THE DEFENDANT’S OFFENSE CONDUCT, CRIMINAL
               HISTORY, AND HIGH RISK OF RECIDIVISM.

       Between April 10, 2006, and May 15, 2006, the defendant robbed

eight banks and attempted to rob one bank in the Boston area.                 PSR

¶ 8-17.       He executed the robberies by gratuitously threatening to

kill the victim bank tellers or their families.             During the April

10, 2006 bank robbery the defendant passed the victim teller a

demand note, which stated: “Give me the money or I will kill you.”



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PSR ¶ 8.   During the April 20, 2006 bank robbery the defendant told

the victim teller: “There better not be [a dye pack], because if

there is, I’ll kill you,” PSR ¶ 9.        During the April 25, 2006 bank

robbery, the defendant passed the victim teller a demand note,

which stated: “I will kill you + yo fam,” and he told the teller he

would be watching the bank and that he would follow her home and

kill her and her family if he saw her set off the alarm.           PSR ¶ 10.

During the April 27, 2006 bank robbery the defendant told the

victim teller to hand over the money “[b]efore I pull my gun and

shoot you in the head.” PSR ¶ 11.           During the May 1, 2006 bank

robbery the defendant told the victim teller: “[D]id you put a dye

pack in there?    If you did, I will come back and kill you,” PSR ¶

12.    During the May 5, 2006 bank robbery the defendant threatened

to kill the victim teller if she made a scene.            PSR ¶ 13.

       By the time of the defendant’s last bank robbery in Boston,

the investigation by law enforcement was in full force.                 The

surveillance images of the defendant robbing the banks were posted

on the Massachusetts Most Wanted website, and tips from concerned

citizens began to pour in. The FBI identified the defendant as the

bank   robber   but   was   unable   to   locate   him.     The   defendant,

presumably aware that he could remain in Massachusetts at his

peril, took the bus to New York, where he robbed five more

financial institutions, between May 26, 2006, and June 19, 2006.

PSR ¶ 119.   The defendant did not turn himself in.          He was finally

captured in New York on June 20, 2006, where FBI agents from Boston
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confronted him with surveillance images of him robbing the above-

mentioned banks.

     The defendant’s brazen spree of bank robberies in conjunction

with his threats to kill the victim tellers and their families

calls for a higher than a low-end guideline sentence of 151 months

under the career offender provision of the Guidelines, and the

government   submits   that   the   sentence   of   169   months   properly

reflects the defendant’s conduct and his criminal history.

     The defendant’s request for a 48-month term of imprisonment

turns primarily on his history of drug abuse.              Throughout his

sentencing memorandum the defendant suggests he went untreated for

drug addiction not because he sought out treatment but could not

find or afford any, but because someone, somehow, somewhere, failed

in his or her responsibility to reach out and impose drug treatment

upon him. He complaints that he was released in 2001 after serving

a three-year sentence on drug distribution charges “with no period

of probation to assist him,” Def. Sent. Mem. 3, and that his

“[a]rrest and a short incarceration in New Hampshire [in 2005] with

little follow-up care was ineffective in stemming his by-then

florid abuse of heroin,”      Def. Sent. Mem. 4.

     There is no question that the defendant is a life-long

substance abuser, that his criminal history has some connection to

his substance abuse, and that he would benefit greatly from

substance abuse treatment, which he apparently, and admirably, has


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undergone with some success at the New York State Department of

Corrections.      PSR ¶ 175.    Yet, there is no evidence whatsoever to

suggest that prior to commencing his New York state sentence the

defendant    sought    out   treatment,    in    any   form,    for    his   drug

addiction.       See generally PSR ¶¶ 170-176.

     In connection with the defendant’s release from Massachusetts

state custody in 2001, he could have availed himself of various

services offered by the Massachusetts Department of Correction.

For example, the Department of Correction provides numerous reentry

services    to    individuals   who   finish    a   term   of   incarceration,

including “monthly meetings,” “within 6 months of release,” “in

order to identify and develop a reentry plan which addresses the

needs of the inmate as he/she prepares for release” and post-

release “substance abuse” programs.2            In addition, 60 days before

the release, the inmates are provided with a MassHealth application

“to ensure [that] released offenders ha[ve] access to critical

mental health, medical and substance abuse treatment.”3                Virtually

every released inmate ends up with a MassHealth card.4                It does not


     2
      DOC Reentry Services Division Brochure (attached thereto),
at
http://www.mass.gov/Eeops/docs/doc/friends_and_family_brochure.pd
f; and DOC Reentry Continuum Brochure (attached thereto), at
http://www.mass.gov/Eeops/docs/doc/reentry_continuum.pdf.
     3
         DOC Reentry Services Division Brochure, supra note 2.
     4
      This information is based on the undersigned counsel’s
conversation with a supervisor at the Massachusetts Department of
Correction.

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appear the defendant took advantage of these opportunities.

     Moreover, the defendant held a job for only a few months upon

his release in 2001.      PSR ¶ 182.    And even there he appears to have

been less than successful, as he was a “no call no show for 3

consecutive scheduled shifts.”         PSR ¶ 182.      In sum, it was not the

lack of treatment opportunities or resources but the defendant’s

inability   to   employ   them   to    his   benefit    that   was   the   chief

impediment to his sobriety and law-abiding life.

     It is precisely because the defendant, in his own words, made

the “decision to continue his irresponsible and criminal behavior,”

Def. Sent. Mem. 9, that ultimately culminated in eight completed

and one attempted bank robberies in Massachusetts, not to mention

the subsequent five robberies in New York, that this Court should

consider the defendant as a career offender under the Guidelines to

protect those around the defendant, and the defendant himself, from

his impulsive behavior, and to allow the defendant enough time to

achieve sobriety and undergo substance abuse counseling.                    The

government recommends that the appropriate sentence under the

career offender provision of the Guidelines is a 169-month term of

imprisonment.

     III. THE GOVERNMENT RECOMMENDS THAT THE COURT SUBTRACT
          38 MONTHS FROM THE BASELINE GUIDELINE SENTENCE OF
          169 MONTHS TO ACCOUNT FOR THE DEFENDANT’S TERM OF
          INCARCERATION IN NEW YORK.

     Finally, the government recommends that the Court subtract 38



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months from the Guideline sentence of 169 months. As the Probation

Officer points out, as of January 29, 2010, the defendant will have

served approximately 43 months (1,319 days) in New York state

custody and the Bureau of Prisons will give the defendant Willis

time credits amounting to 140 days for the time he was incarnated

in New York between his arrest on June 20, 2006, and his sentencing

on November 7, 2006.     PSR p. 44.        The effect of this calculation is

that    by   January   29,    2010,    the     defendant   will   have   served

approximately 38 months (1,179 days) of his state sentence for

which he will not receive credit from the Bureau of Prisons.                 Id.

       The government’s recommendation is based on the fact that the

defendant was arrested by New York state authorities on June 20,

2006, and sentenced on November 7, 2006; and that the government

brought the defendant to the District of Massachusetts for an

initial appearance almost three years later, on June 24, 2009, on

a writ of habeas corpus ad prosequendum issued by the Honorable

Marianne B. Bowler.          Had the government brought the defendant

before this Court earlier, the Court, if it so wished, could have

imposed a sentence on the instant offense to run concurrently or

partially concurrently to the defendant’s New York state sentence.

See U.S.S.G. § 5G1.3(c).           Consequently, the government considers

the 38-month credit appropriate under the circumstances.                 See id.

The    practical   result     of    the    government’s    recommendation    is

consistent with the defendant’s request that the Court credit the


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defendant with the time he already served on the New York sentence.

Def. Sent. Mem. 15.5

                                CONCLUSION

     For these reasons, the government respectfully recommends that

this Honorable Court sentence the defendant to a 131-month term of

imprisonment to run concurrently to with his state sentence,

followed   by   a   3-year   term   of    supervised   release,   and   order

restitution in the amount of $22,757.72.


                                           Respectfully submitted,

                                           CARMEN M. ORTIZ
                                           Acting United States Attorney

                                    By:    /s/ Maxim Grinberg
                                           MAXIM GRINBERG
Dated:     January 22, 2010                Assistant U.S. Attorney




     5
       The defendant recommends a 48-month sentence to run
consecutive to his current state sentence in New York. The
defendant’s New York state sentence conditionally expires on June
15, 2010, but no later than June 15, 2012. PSR ¶ 119. If in
fact the defendant’s sentence will expire in 2012, the defendant
may effectively be recommending roughly a 6- and not a 4-year
sentence. Because the government recommends a 131-month sentence
to run concurrently with the state sentence, the expiration of
the defendant’s state sentence does not affect the government
recommendation.

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                       CERTIFICATE OF SERVICE

     I hereby certify that this document filed through the ECF
system will be sent electronically to the registered participants
as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered
participants on January 22, 2010.

                                             /s/ Maxim Grinberg
                                             MAXIM GRINBERG




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